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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE GREGORY W. CARMAN, CHIEF JUDGE

 

)
THE MEAD CORPORATION, )
)
Plaintiff, )

) Court No. 95-12-01783
V. )
)

THE UNITED STATES, ) Test Case

)
Defendant. )
)

 

CONSENT MOTION TO ENTER JUDGMENT ORDER IN
CIVIL ACTION 95-12-01783

Pursuant to Rules 1 and 58 of the Rules of the U.S. Court of International Trade,
plaintiff hereby moves to have the Court enter Judgment Order in the above-referenced
test case. The case concerns the proper classification of day planners imported by
plaintiff. The U.S. Court of Appeals for the Federal Circuit (“CAFC”) issued a decision
on March 8, 2002 holding that the day planners embraced by this civil action were
wrongly classified under HTSUS subheading 4820.10.20, which carried a 4.0% rate of
duty. The CAFC ruled that the day planners were properly classifiable under HTSUS
subheading 4820.10.40, a duty free provision. The Mead Corporation v. United States,
283 F.3d 1342 (2002). The CAFC decision became final on June 7, 2002.

In light of that decision, plaintiff respectfully requests that this Court enter
judgment ordering the U.S. Customs Service to reliquidate the entries embraced by this
test case so that the day planners are correctly classified under the duty free HTSUS

subheading 4820.10.40 tariff provision, with the refund of duties receiving appropriate

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interest payments as provided by law. A proposed Judgment Order to that effect is
attached.
Counsel for defendant, Amy M. Rubin, Esq., has reviewed this motion and
attached Judgment Order and consents to the issuance of the proposed Judgment Order.
WHEREFORE, based upon the foregoing plaintiff respectfully requests that
attached Judgment Order be entered in the above-referenced civil action.

Respectfully submitted,

 

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Lamb & L

Attornéys for The Mead
Corporation

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Tel.: (212) 608-2700

Dated: August 28, 2002
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CERTIFICATE OF SERVICE

 

I, Nancy Chiaramonte, hereby certify that I am an employee with the law firm of
Lamb & Lerch, with offices located at 233 Broadway, New York, NY 10279, and that on
August 28, 2002 on behalf of The Mead Corporation, plaintiff herein, I served the annexed

papers upon the attorney for the defendant:

Amy M. Rubin
Assistant Attorney General, Civil Division
Commercial Litigation Branch
International Trade Field Office
26 Federal Plaza
New York, New York 10278

by hand delivering said papers to the above-listed address.

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